        Case 3:18-cr-00319-JO    Document 229     Filed 10/21/19   Page 1 of 2




                    UNITED STATES COURT OF APPEALS                        FILED
                           FOR THE NINTH CIRCUIT                          OCT 21 2019
                                                                      MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
UNITED STATES OF AMERICA,                       No.    19-30208

                Plaintiff-Appellee,             D.C. No. 3:18-cr-00319-JO-7
                                                District of Oregon,
 v.                                             Portland

JOSEPH DUANE FOLKERTS,                          ORDER

                Defendant-Appellant.

Before: SILVERMAN, W. FLETCHER, and RAWLINSON, Circuit Judges.

      This is an appeal from the district court’s pretrial detention order. We have

jurisdiction pursuant to 18 U.S.C. § 3145(c) and 28 U.S.C. § 1291.

      We review the district court’s factual findings concerning the danger that

appellant poses to the community under a “deferential, clearly erroneous standard.”

United States v. Hir, 517 F.3d 1081, 1086 (9th Cir. 2008) (quoting United States v.

Townsend, 897 F.2d 989, 994 (9th Cir. 1990)). The conclusions based on such

factual findings, however, present a mixed question of fact and law. Hir, 517 F.3d

at 1086. Thus, “the question of whether the district court’s factual determinations

justify the pretrial detention order is reviewed de novo.” Id. at 1086-87 (citations

omitted).

      The district court correctly found that the government has met its burden of

showing, by clear and convincing evidence, that “no condition or combination of

KWH/MOATT
        Case 3:18-cr-00319-JO    Document 229     Filed 10/21/19   Page 2 of 2




conditions will reasonably assure . . . the safety of . . . the community,” 18 U.S.C.

§ 3142(e), and that appellant therefore poses a danger to the community. See Hir,

517 F.3d at 1094. We therefore affirm the district court’s pretrial detention order.

      Appellant’s motion to seal (Docket Entry No. 8) is granted.

      AFFIRMED.




KWH/MOATT                                 2                                      19-30208
